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 1   Timothy E. Warriner
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
 4   Attorney for defendant,
     MARIO OCHOA
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 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )                No. CR. S-06-0314 FCD
                                         )
10               Plaintiff,              )               STIPULATION AND ORDER
                                         )               CONTINUING MOTION TO
11                                       )               REDUCE SENTENCE
                                         )
12   MARIO OCHOA,                        )
                                         )
13               Defendant.              )
     ____________________________________)
14
     The parties hereby stipulate to the following:
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        1.      The hearing date for the defendant’s motion to reduce sentence pursuant to 18 U.S.C.
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                § 3582( c)(2) is now on calendar for August 17, 2009 at 10:00 a.m.
17
        2.      Additional time is needed by defense counsel in order to communicate with the client,
18
                and for the government to file an opposition to the motion. Both parties agree that a
19
                continuance is needed for counsel to prepare, and to confer with the client.
20
                Therefore, the parties agree to continue the motion date to November 2, 2009 at
21
                10:00 a.m.
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23
        DATED: August 13, 2009             /s/ Tim Warriner, Attorney for
24                                         Defendant MARIO OCHOA
25
        DATED: August 13, 2009             /s/ Mary Grad
26                                         Assistant U.S. Attorney
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 3                                        ORDER
 4       GOOD CAUSE APPEARING, it is hereby ordered that the motion to reduce sentence set
 5    for August 17, 2009 be continued to November 2, 2009 at 10:00 a.m.
 6.
 7    DATED: August 13, 2009
 8                                          _______________________________________
                                            FRANK C. DAMRELL, JR.
 9
                                            UNITED STATES DISTRICT JUDGE
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